 Case 3:17-cv-00072-NKM-JCH Document 1326 Filed 10/26/21 Page 1 of 5 Pageid#: 22121




(202) 223-7308

(202) 379-4217

kdunn@paulweiss.com




                                             October 26, 2021




          BY ECF

          The Honorable Norman K. Moon
          United States District Court
          Western District of Virginia
          255 West Main Street
          Charlottesville, VA 22902


                                Re: Sines et al. v. Kessler et al., No. 3:17-cv-00072 (NKM) (JCH)

          Dear Judge Moon:

                  Plaintiffs write to provide the Court with case law concerning the appropriate
          remedy for a Batson violation. Under Batson v. Kentucky, trial courts retain broad
          discretion to fashion an appropriate remedy for a discriminatory preemptory strike. 476
          U.S. 79, 99 n.24 (1986); United States v. Aleman, 246 F. App’x 731, 735 (2d Cir. 2007);
          United States v. Walker, 490 F.3d 1282, 1294 (11th Cir. 2007); see also Tolen v.
          Cartledge, No. 1:15-cv-02503-RBH, 2017 U.S. Dist. LEXIS 157511, at *34 n.3 (D.S.C.
          Sep. 26, 2017) (“Batson is silent as to the remedy for a Batson violation”).
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              Several courts have held that Batson’s purpose is best effectuated by forfeiting the
      violating party’s unconstitutional preemptory strike. Aleman, 246 F. App’x at 735;
      Walker, 490 F.3d at 1295; Peetz v. State, 180 S.W.3d 755, 761 (Tex. App. 2005) (“The
      effect of a successful Batson challenge always has been that the party exercising the
      strikes does not enjoy the benefit of those strikes”); People v. Johnson, 196 Misc. 2d 417,
      420 (N.Y. Sup. Ct. 2003) (“If the court finds purposeful discrimination, it should
      permanently disallow the challenge and seat the juror because returning the party to its
      original position would not deter subsequent discriminatory strikes”). Other courts have
      reinstated the preemptory strike where there was “no evidence of egregious bad faith or
      maliciousness on the part” of the striking party. United States v. Ramirez-Martinez, 273
      F.3d 903, 910 (9th Cir. 2001).

              Jimenez v. City of Chicago, 877 F. Supp. 2d 649, 662 (N.D. Ill. 2012), is
      instructive here. The “Defendants’ justification of their decision to challenge an African-
      American juror was not at all credible, because the justification applied much more
      strongly to a white juror whom defendants did not strike.When confronted with the
      discrepancy, defendants could not give a satisfactory explanation, thus further confirming
      that any nonracial justification they offered was pretextual.” Id. The Court then held that
      “allowing defendants to try again . . . would provide an insufficient sanction for and
      deterrence of racially discriminatory conduct.” Id.



                                                                   Very truly yours,



                                                                   ________________________

                                                                   Karen Dunn

        Of Counsel:

        Roberta A. Kaplan (pro hac vice)              Karen L. Dunn (pro hac vice)
        Michael L. Bloch (pro hac vice)               Jessica Phillips (pro hac vice)
        Raymond P. Tolentino (pro hac vice)           William A. Isaacson (pro hac vice)
        Yotam Barkai (pro hac vice)                   Giovanni Sanchez (pro hac vice)
        Alexandra K. Conlon (pro hac vice)            PAUL, WEISS, RIFKIND, WHARTON
        Jonathan Kay (pro hac vice)                   & GARRISON LLP
        KAPLAN HECKER & FINK LLP                      2001 K Street, NW
        350 Fifth Avenue, Suite 7110                  Washington, DC 20006-1047
        New York, NY 10118                            Telephone: (202) 223-7300
        Telephone: (212) 763-0883                     Fax: (202) 223-7420
        rkaplan@kaplanhecker.com                      kdunn@paulweiss.com
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        mbloch@kaplanhecker.com            jphillips@paulweiss.com
        rtolentino@kaplanhecker.com        wisaacson@paulweiss.com
        ybarkai@kaplanhecker.com           gsanchez@paulweiss.com
        aconlon@kaplanhecker.com
        jkay@kaplanhecker.com

        Robert T. Cahill (VSB 38562)       Alan Levine (pro hac vice)
        COOLEY LLP                         COOLEY LLP
        11951 Freedom Drive, 14th Floor    55 Hudson Yards
        Reston, VA 20190-5656              New York, NY 10001
        Telephone: (703) 456-8000          Telephone: (212) 479-6260
        Fax: (703) 456-8100                Fax: (212) 479-6275
        rcahill@cooley.com                 alevine@cooley.com

        David E. Mills (pro hac vice)       J. Benjamin Rottenborn (VSB 84796)
        Joshua M. Siegel (VSB 73416)       WOODS ROGERS PLC
        COOLEY LLP                         10 South Jefferson St., Suite 1400
        1299 Pennsylvania Avenue, NW       Roanoke, VA 24011
        Suite 700                          Telephone: (540) 983-7600
        Washington, DC 20004               Fax: (540) 983-7711
        Telephone: (202) 842-7800          brottenborn@woodsrogers.com
        Fax: (202) 842-7899
        dmills@cooley.com
        jsiegel@cooley.com

                                           Counsel for Plaintiffs
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                                  CERTIFICATE OF SERVICE

             I hereby certify that on October 26, 2021, I served the following via electronic mail:

       Elmer Woodard                                 David L. Campbell
       5661 US Hwy 29                                Justin Saunders Gravatt
       Blairs, VA 24527                              Duane, Hauck, Davis & Gravatt, P.C.
       isuecrooks@comcast.net                        100 West Franklin Street, Suite 100
                                                     Richmond, VA 23220
       James E. Kolenich                             dcampbell@dhdglaw.com
       Kolenich Law Office                           jgravatt@dhdglaw.com
       9435 Waterstone Blvd. #140
       Cincinnati, OH 45249                          Counsel for Defendant James A. Fields, Jr.
       jek318@gmail.com

       Counsel for Defendants Jason Kessler,
       Nathan Damigo, and Identity Europa, Inc.
       (Identity Evropa)

       Bryan Jones                                   William Edward ReBrook, IV
       106 W. South St., Suite 211                   The ReBrook Law Office
       Charlottesville, VA 22902                     6013 Clerkenwell Court
       bryan@bjoneslegal.com                         Burke, VA 22015
                                                     edward@rebrooklaw.com
       Counsel for Defendants Michael Hill,
       Michael Tubbs, and League of the South Counsel for Defendants Jeff Schoep,
                                              National Socialist Movement, Nationalist
                                              Front, Matthew Parrott, Traditionalist
                                              Worker Party and Matthew Heimbach

       Joshua Smith
       Smith LLC
       807 Crane Avenue
       Pittsburgh, PA 15216-2079
       joshsmith2020@gmail.com

       Counsel for Defendants Matthew Parrott,
       Traditionalist Worker Party and Matthew
       Heimbach
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              I hereby certify that on October 26, 2021, I also served the following via mail and
      electronic mail:

       Richard Spencer                              Christopher Cantwell
       richardbspencer@icloud.com
       richardbspencer@gmail.com                    Christopher Cantwell 00991-509
                                                    Central Virginia Regional Jail
                                                    13021 James Madison Hwy
       Vanguard America                             Orange, VA 22960
       c/o Dillon Hopper
       dillon_hopper@protonmail.com                 and

                                                    Christopher Cantwell 00991-509
       Elliott Kline a/k/a Eli Mosley               USP Marion, 4500 Prison Rd.
       eli.f.mosley@gmail.com                       P.O. Box 2000
       deplorabletruth@gmail.com                    Marion, IL 62959
       eli.r.kline@gmail.com
                                                    Robert “Azzmador” Ray
                                                    azzmador@gmail.com




                                                    _________________________
                                                    Karen L. Dunn (pro hac vice)
                                                    PAUL, WEISS, RIFKIND, WHARTON
                                                    & GARRISON LLP

                                                    Counsel for Plaintiffs
